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Trevor Reid
Crystale Reason
3920 E Thomas Rd #5723
Phoenix, AZ 85010
Email: trevor.d.reid@gmail.com
Email: crystale.reid@gmail.com
Tel: (386) 249-9739
Plaintiff(s), pro se

                    IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF ARIZONA

Trevor Reid,                                     | Case No. CV-22-00068-PHX-SMB
                                                 |
Crystale Reason                                  |
                                                 |
                Plaintiffs                       |
                                                 |
v.                                               |
                                                 |
U.S. Department of the Interior, et al           |
                                                 | PLAINTIFFS’ JOINT MOTION TO
               Defendants                        | EXTEND TIME FOR SERVICE
                                                 | (SECOND REQUEST)

        Plaintiffs request ten (10) additional days to effectuate service as to

individual Defendants Doyle, Ballam and Sirk-Fear (the park ranger Defendants).

Correspondingly, Plaintiffs request the consolidated deadline for all Defendants to

answer be extended by 10 days.

        Plaintiffs have ascertained via conference with counsel for substituted

Defendant the United States of America (U.S.A) that the U.S.A. takes no position

on this request for extension.

         Plaintiffs previously requested one Extension of Time for Service (Doc. 10)

of sixty (60) days and the Court granted thirty (30) days (Doc. 11). Service on the

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official and agency Defendants was completed before the resulting deadline of

May 13, 2022.

        As Plaintiffs’ primary aim in bringing this action is government

accountability, they decided to focus their efforts on the claims against the official

and agency Defendants. Thus, the May 13th deadline passed and Plaintiffs

expected that the federal government Defendants would file timely responses and

that if the park ranger Defendants failed to waive service1, claims that depended

upon that would be dismissed.

        Sixty-three (63) days after the U.S. Attorney for Arizona had been served,

substituted Defendant the U.S.A. contemporaneously filed its Notice Of

Substitution (Doc. 16) and Motion To Consolidate And Extend The Responsive

Pleading Deadline (First Request To Extend), (Doc. 17). Plaintiffs opposed

neither the consolidation nor the extension. Plaintiffs voluntarily dismissed (Doc.

18) their Bivens claims and others against the park ranger Defendants in their

individual capacities, with the exception of those claims for which the U.S.A. had

been substituted.

        Plaintiff did not dismiss the claims to avoid the requirements of service. On

the contrary, it was to make clear — consistent with Plaintiffs’ intention at that

time to proceed against the agency and official Defendants only — that “all

remaining identified Defendants have either been served per Fed. R. Civ. P. 4(i)(1),

1
 Plaintiffs have requested since April 19th, 2022 that individual Defendants Doyle,
Ballam, and Sirk-Fear waive service pursuant to Fed. R. Civ. P. Rule 4(d). No waivers
have been received so far.

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(2) — i.e. by ‘[serving] the United States and also [sending] a copy of the

summons and of the complaint by registered or certified mail to the agency,

corporation, officer, or employee’ — or substituted by a Defendant who has been

so served,” as Plaintiffs stated in their Response (Doc. 19, ⁋ 6).

       Plaintiffs neither requested nor expected that the time for service on

individual Defendants would be extended beyond May 13th, 2022. Nevertheless,

the Court in granting the request of the U.S.A did extend the deadline to August

5th, 2022 (Doc. 23). This prompted Plaintiffs to reevaluate their posture toward

the park ranger Defendants.

       Subsequently, Plaintiffs engaged private process servers to effect service on

the individual Defendants. As the deadline approaches, Plaintiffs have been in

contact with the professionals attempting to serve the Defendants. At the time of

this filing, a server has indicated to Plaintiffs that Defendant Doyle has been

served, and that the server is preparing, but has not yet filed, an affidavit. The

servers have attempted to serve park rangers Ballam and Sirk-fear, but have so far

been told only that the rangers are “not here” and “that nothing can be left for

them.” The service efforts remain in progress, but likely cannot be completed by

the present deadline in light of the behavior of the latter two rangers and those

around them.

       Accordingly, Plaintiffs request ten (10) additional days to effectuate service

and that all Defendants have an additional ten (10) days to respond.




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    Respectfully submitted this 4th day of August, 2022.

                                              s/Trevor Reid, plaintiff pro se

                                              s/Crystale Reason, plaintiff pro se




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                            CERTIFICATE OF SERVICE

       I certify that on June 13th, 2022 in addition to filing the foregoing document via

CM/ECF I mailed a copy via first class mail to each of the following parties:

       United States of America
       United States Department of the Interior
       National Park Service:

       U.S. Attorney, ATTN: Noel Capps
       2 Renaissance Square
       40 N Central Ave., Ste. 1800
       Phoenix, AZ 85004-4408



       Justin P. Doyle
       David Ballam
       Cynthia Sirk-Fear:

       18100 Park Headquarters Road
       Triangle, VA 22172




       Justin P. Doyle
       4118 S 220 W
       Vernal, UT 84078


                                                                    s/Crystale Reason




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